                            U.S. District Court
                  Western District of Missouri (St. Joseph)
           CRIMINAL DOCKET FOR CASE #: 5:19−cr−06011−DGK−1

Case title: USA v. Byrns                                   Date Filed: 09/26/2019
                                                           Date Terminated: 09/26/2019

Assigned to: District Judge Greg
Kays
Referred to: Magistrate Judge Matt
J. Whitworth

Defendant (1)
David Lane Byrns                     represented by John Justin Johnston
TERMINATED: 09/26/2019                              Johnston Law Firm LLC
                                                    811 Grand Blvd.
                                                    #101
                                                    Kansas City, MO 64106
                                                    816−739−4538
                                                    Fax: 816−421−5403
                                                    Email: jjj@johnstonlawkc.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained
                                                    Bar Status: Active

Pending Counts                                     Disposition
ATTEMPT AND CONSPIRACY
                                                   Consent to transfer of case for plea and sentence to
TO COMMIT MAIL FRAUD
                                                   Northern District of Georgia (Rule 20).
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                  Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                         Disposition
None


         Case 5:19-cr-06011-DGK Document 5 Filed 09/26/19 Page 1 of 15                                    1
Plaintiff
USA                                             represented by Lucinda S. Woolery
                                                               United States Attorney's Office−KCMO
                                                               400 E 9th Street
                                                               Suite 5510
                                                               Kansas City, MO 64106
                                                               (816)426−3130
                                                               Fax: (816)426−3165
                                                               Email: cindi.woolery@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant US Attorney
                                                               Bar Status: Active
Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed    # Page Docket Text
 09/26/2019    1         WAIVER OF INDICTMENT by David Lane Byrns. (Crocker, Susan) (Entered:
                         09/26/2019)
 09/26/2019    2         INFORMATION as to David Lane Byrns (1) count(s) 1. (Crocker, Susan)
                         (Entered: 09/26/2019)
 09/26/2019    3         Minute Entry for proceedings held before Magistrate Judge Matt J. Whitworth:
                         WAIVER OF INDICTMENT AND CONSENT TO TRANSFER HEARING as
                         to David Lane Byrns held on 9/26/2019. Defendant appears and consents to
                         waive the indictment. Information filed. Parties also consent to WAIVE trial in
                         the Western District of Missouri, and transfer this case for a PLEA and
                         SENTENCING to the Middle District of FLORIDA (RULE 20). The Clerk's
                         office is directed to electronically transfer this case to the Middle District of
                         Florida. Counsel appearing for USA: Lucinda Woolery. Counsel appearing for
                         Defendant: J. Justin Johnston. Time in court: 11:01 am to 11:05 am. To order a
                         transcript of this hearing please contact Jan Martin, 816−512−5774. This is a
                         TEXT ONLY ENTRY. No document is attached. (Martin, Jan) (Entered:
                         09/26/2019)
 09/26/2019    4         ORDER of transfer/return to Middle District of Florida. Counts closed as to
                         David Lane Byrns (1) Count 1. Signed on 9/26/2019 by Magistrate Judge Matt J.
                         Whitworth.(Crocker, Susan) (Entered: 09/26/2019)




        Case 5:19-cr-06011-DGK Document 5 Filed 09/26/19 Page 2 of 15                                        2
Case
Case5:19-cr-06011-DGK
     5:19-cr-06011-DGK Document
                       Document51 Filed
                                  Filed09/26/19
                                        09/26/19 Page
                                                 Page31of
                                                       of15
                                                          1   3
                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  ST. JOSEPH DIVISION

 UNITED STATES OF AMERICA,               No. 5:19-cr-06011-SJ-DGK

                                         COUNT ONE
        Plaintiff,                       Conspiracy to Commit Health Care Fraud
                                         18 U.S.C. § 1349
        v.                               NMT 10 Years Imprisonment
                                         NMT $250,000 Fine
 DAVID LANE BYRNS,                       NMT 3Years Supervised Release
 [DOB 9/19/57]                           Class C Felony

        Defendant.                       Allegation of Criminal Forfeiture
                                         18 U.S.C. § 982(a)(7)

                                         $100 Mandatory Special Assessment on
                                         Each Count

                                   I N FO R MAT I O N

                                             COUNT ONE

                                       General Allegations

At all times material to this Information:

                                The Health Insurance Programs

       1.       RightCHOICE Managed Care, Inc. (a Missouri-headquartered licensee of the Blue

Cross and Blue Shield Association) (“RightCHOICE”), United HealthCare, Inc. (“UHC”), and

Aetna Inc. (“Aetna”) (collectively, the “Private Insurers”) were private insurance companies, and,

along with other private insurance companies, offered individual and group health benefit plans

and served as third-party administrators for self-insured health plans.

       2.       MO HealthNet was Missouri’s Medicaid program.             MO HealthNet provided

benefits to certain low-income individuals and families in Missouri through Home State Health




            Case 5:19-cr-06011-DGK Document 5
                                            2 Filed 09/26/19 Page 4
                                                                  1 of 15
                                                                       11                            4
Plan, Inc. (“Home State”), a Managed Care Organization (“MCO”) with which MO HealthNet

contracted to administer Missouri Medicaid recipients’ health care benefits.

       3.       The Private Insurers and MO HealthNet were each a “health care benefit program”

as defined by Title 18, United States Code, Section 24(b).

       4.       The Private Insurers entered into contracts with health care providers in Missouri,

including hospitals, under which the Private Insurers agreed to reimburse providers at negotiated

rates for items and services provided to individuals (known as “Members” or “Subscribers”)

insured under the health insurance plans provided or administered by the Private Insurers.

Providers with which the Private Insurers had such contracts were generally referred to as “in-

network” providers.

       5.       Home State also had contracts with health care providers in Missouri, including

hospitals, under which it reimbursed for health care items and services provided to eligible

Medicaid recipients.     MO HealthNet made monthly capitated payments for each Medicaid

recipient enrolled with Home State.

       6.       Laboratory tests could be performed on bodily fluids such as urine and blood to

detect recent drug or alcohol use by an individual, or to diagnose various medical conditions. The

Private Insurers’ contracts with in-network hospitals typically covered medically necessary (as

defined in the contracts) urine drug tests (“UDTs”) and blood tests performed for patients of the

hospitals, and reimbursed these tests at elevated rates in order to ensure that the hospitals could

provide care to the surrounding community. The Private Insurers typically did not reimburse out-

of-network providers for laboratory testing services, or reimbursed them at lower rates than in-

network providers.




                                                 2


            Case 5:19-cr-06011-DGK Document 5
                                            2 Filed 09/26/19 Page 5
                                                                  2 of 15
                                                                       11                             5
                                          The Hospital

       7.       Putnam County Memorial Hospital (“Putnam”) was a 15-bed, rural hospital,

designated as a Critical Access Hospital (“CAH”) under the 1997 Balanced Budget Act, located

at 1926 Oak Street in Unionville, Missouri, in Putnam County, in the Western District of Missouri.

Putnam offered, among others, acute care, outpatient services, specialty clinics, an emergency

room, and laboratory services.

       8.       Putnam had contracts with the Private Insurers, other private health insurers, and

Home State, under which those insurers agreed to reimburse Putnam for certain claims submitted

by the hospital for healthcare services, including laboratory testing services, performed on behalf

of the insurers’ Members and Subscribers who were patients of Putnam. Under these contracts,

Putnam was an “in-network” provider, and was reimbursed at substantially higher rates than the

Private Insurers would reimburse out-of-network providers for performing comparable services.

                  The Defendant, Co-Conspirators, and Related Companies

       9.       Defendant David Lane Byrns (“Byrns”) resided in Lighthouse Point, Florida.

       10.      Hospital Partners, Inc. (“Hospital Partners”), incorporated on or about December

23, 2015, was a Florida corporation with its principal place of business located at 4451 Northeast

27th Avenue, Lighthouse Point, Florida.    Byrns and Individual 1 owned, operated, and controlled

Hospital Partners.

       11.      Company A, a Florida corporation, was a medical billing and software business

owned, operated, and/or controlled by Individual 1.

       12.      Company B, a Florida corporation, was a clinical testing laboratory owned,

operated, and/or controlled by Individual 2. Company B did not have a reimbursement contract

and was “out-of-network” with the Private Insurers.


                                                3


            Case 5:19-cr-06011-DGK Document 5
                                            2 Filed 09/26/19 Page 6
                                                                  3 of 15
                                                                       11                             6
       13.     Company C, a Florida corporation, was a company owned, operated, and/or

controlled by Individual 2.

                                 Putnam’s Laboratory Facilities

       14.     Between approximately October 2016 and mid-February 2017, Putnam did not

have laboratory facilities sufficient to conduct large-scale UDTs.

       15.     Between approximately December 2016 and February 2018, Putnam did not have

laboratory facilities sufficient to conduct large-scale blood testing.

                                          The Conspiracy

       16.     From in or around October 2016, and continuing through at least in or around

February 2018, in Putnam County, in the Western District of Missouri and elsewhere, the

defendant DAVID L. BYRNS, did willfully, that is, with the intent to further the object of the

conspiracy, and knowingly combine, conspire, confederate, and agree with Individual 1, Individual

2, and others known and unknown to the United States, to knowingly and willfully execute a

scheme and artifice to defraud a health care benefit program affecting commerce, as defined in

Title 18, United States Code, Section 24(b), that is, the Private Insurers and MO HealthNet, and to

obtain, by means of materially false and fraudulent pretenses, representations, and promises,

money and property owned by, and under the custody or control of, said health care benefit

programs, in connection with the delivery of and payment for health care benefits, items, and

services, in violation of Title 18, United States Code, Section 1347.

                                    Purpose of the Conspiracy

       17.     The purpose of the conspiracy was for Byrns and his co-conspirators to unlawfully

enrich themselves by, among other things, (a) submitting and causing the submission of false and

fraudulent claims for reimbursement of laboratory testing services, purportedly conducted at


                                                  4


          Case 5:19-cr-06011-DGK Document 5
                                          2 Filed 09/26/19 Page 7
                                                                4 of 15
                                                                     11                               7
Putnam for Putnam patients, to health care benefit programs, and (b) to divert fraud proceeds for

their personal use and benefit, the use and benefit of others, and to further the fraud.

                                        Manner and Means

       18.     The manner and means by which Byrns and his co-conspirators sought to

accomplish the purpose of the conspiracy included, among others, the following:

       Byrns and Co-Conspirators Obtain Control over Putnam

       19.     Byrns and Individual 1 sought to obtain control over financially troubled rural

hospitals in order to engage in a fraudulent billing scheme in which UDTs and other bodily fluid

testing performed on non-hospital patients and at outside laboratories were billed through the

hospitals, using their favorable reimbursement contracts, to private insurance companies.

       20.     On or about September 12, 2016, Byrns, acting on behalf of Hospital Partners,

executed a management agreement (the “Management Agreement”) with the Putnam Board of

Trustees under which Hospital Partners would manage the day-to-day operations of the hospital.

The Management Agreement gave Hospital Partners control over Putnam for a period of

approximately eighteen months.

       21.     On or about September 13, 2016, Byrns was named the Chief Executive Officer

(CEO) of Putnam.

       22.     On or about September 15, 2016, Byrns, acting on behalf of Putnam, and Individual

1, on behalf of Company A, executed an agreement (the “Service Agreement”) under which

Company A would provide claims processing services for Putnam in return for a fee of 6.5% of

“collected revenue,” that is, the amounts collected by Putnam from insurers.

       23.     On or about October 20, 2016, Byrns, acting on behalf of Putnam, and Individual

2, on behalf of Company C, executed an agreement (the “Independent Contractor Agreement”)


                                                  5


          Case 5:19-cr-06011-DGK Document 5
                                          2 Filed 09/26/19 Page 8
                                                                5 of 15
                                                                     11                             8
under which Company C would purport to operate a clinical laboratory at Putnam.                 The

Independent Contractor Agreement also provided that Company C would have access to a Putnam

bank account into which reimbursements from the Private Insurers and others would be deposited,

and would “sweep” the account weekly, with Company C taking 80% of the balance and Putnam

retaining 20%.    In truth and in fact, Individual 1 and Individual 2 formed Company C, and

arranged for it to enter into the Independent Contractor Agreement, as a vehicle for receiving and

distributing the proceeds derived from fraudulently billing the Private Insurers and others, through

Putnam, for laboratory testing services purportedly performed on behalf of Putnam patients.

       24.     On or about November 29, 2016, Byrns, acting on behalf of Hospital Partners,

executed a lease agreement with the Putnam Board of Trustees under which Hospital Partners had

“full authority to conduct, supervise and manage the day-to-day operations of the Hospital.”

       25.     In or about mid-February 2017, following several months of preparation, Byrns,

Individual 1, Individual 2 and others caused the laboratory at Putnam to begin conducting some

UDTs using testing equipment transferred from Company B’s location in Florida.

       Claims for UDTs

       26.     Between in or about October 2016 and in or about February 2018, Byrns, Individual

1, Individual 2, and others caused Company B, other out-of-network clinical testing laboratories

outside Missouri, and the Putnam laboratory, to perform UDTs for individuals who were not

inpatients or outpatients of Putnam, and who otherwise had no connection to Putnam.

       27.     Byrns, Individual 1, and Individual 2 entered into arrangements with marketers to

obtain large quantities of urine samples from substance abuse treatment centers, sober living

homes, physicians’ offices, and other sources throughout the United States that could be tested by




                                                 6


         Case 5:19-cr-06011-DGK Document 5
                                         2 Filed 09/26/19 Page 9
                                                               6 of 15
                                                                    11                                 9
Company B, other out-of-network clinical testing laboratories outside Missouri, and the Putnam

laboratory.

       28.     Between in or about October 2016 and in or about February 2018, Byrns, Individual

1, Individual 2, and others, using Company A, caused the submission of materially false and

fraudulent claims for reimbursement, on Putnam’s behalf and using Putnam’s billing credentials,

to the Private Insurers, other insurers, and Home State, for UDTs performed by Company B, other

out-of-network clinical testing laboratories outside Missouri, and the Putnam laboratory, in that

many of the tests were medically unnecessary and the claims were submitted as if the UDTs were

performed at Putnam on behalf of Putnam patients.

       Claims for Blood Testing

       29.     Between in or about December 2016 and in or about February 2018, Byrns,

Individual 1, Individual 2, and others caused out-of-network clinical testing laboratories outside

Missouri to perform blood tests for individuals who were not inpatients or outpatients of Putnam,

and who otherwise had no connection to Putnam.

       30.     Byrns, acting on behalf of Putnam, hired phlebotomists who worked at medical

practices throughout the country to facilitate the collection of blood samples to be tested and billed

through Putnam.

       31.     Between in or about December 2016 and in or about February 2018, Byrns,

Individual 1, Individual 2, and others, through Company A, caused the submission of materially

false and fraudulent claims for reimbursement, on Putnam’s behalf and using Putnam’s billing

credentials, to the Private Insurers and other insurers for the blood tests performed by out-of-

network clinical testing laboratories outside Missouri, in that many of the tests were medically




                                                  7


         Case
         Case5:19-cr-06011-DGK
              5:19-cr-06011-DGK Document
                                Document52 Filed
                                           Filed09/26/19
                                                 09/26/19 Page
                                                          Page10
                                                               7 of
                                                                 of11
                                                                    15                                   10
unnecessary and the claims were submitted as if the blood tests were performed at Putnam on

behalf of Putnam patients.

       Distribution of Fraud Proceeds

       32.      Between in or about October 2016 and in or about February 2018, the Private

Insurers and Home State paid at least $114,000,000 to Putnam based on the materially false and

fraudulent claims for UDTs and blood tests.

       33.      After the Private Insurers, other insurers, and Home State reimbursed Putnam based

on the materially false and fraudulent claims for UDTs and blood tests, Byrns, Individual 1, and

Individual 2 caused a portion of the proceeds to be transferred to Company C in accordance with

the agreed-upon split in the Independent Contractor Agreement. Between in or about November

2016 and in or about February 2018, Byrns and his coconspirators caused at least $63,000,000 in

fraudulently-obtained insurance reimbursements to be transferred to Company C.

       34.      Byrns, Individual 1, and Individual 2 caused the proceeds received by Company C

to be further distributed to Company A, Company B, Hospital Partners, other clinical testing

laboratories that had performed UDTs and blood testing billed through Putnam, and marketers that

had arranged to procure samples for testing.

       35.      Byrns and Individual 1 caused Hospital Partners to transfer to Company A the

agreed-upon 6.5 percent fee for all insurance reimbursements that Putnam received as a result of

the fraudulent billing, and to transfer additional sums to personal accounts controlled by Byrns and

Individual 1.

       All in violation of Title 18, United States Code, Section 1349.




                                                 8


         Case
         Case5:19-cr-06011-DGK
              5:19-cr-06011-DGK Document
                                Document52 Filed
                                           Filed09/26/19
                                                 09/26/19 Page
                                                          Page11
                                                               8 of
                                                                 of11
                                                                    15                                 11
                                FORFEITURE ALLEGATION
                                     18 U.S.C. § 982(a)(7)

       36.     Upon conviction of the offense alleged in Count One of this Information, Byrns

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), any property, real or personal,

that constitutes or is derived, directly or indirectly, from gross proceeds traceable to violations of

18 U.S.C. § 1349, including but not limited to:

       An order of forfeiture for the full amount of the proceeds the defendant personally

obtained from the health care fraud conspiracy (at least $5,100,000).

       In addition, the United States seeks forfeiture of the following assets which constitute or

are traceable to proceeds:

                                        Financial Accounts

       United States currency, funds and other monetary instruments credited to the following

account numbers and up to the following approximate amounts:

             Account                     Financial
                                                          Account No.            Amount
                                        Institution
 David L Byrns & spouse’s
 Revocable Trust Yield Pledge        TIAA                 x3668              $1,846,038.89
 Money Market Account
 David L Byrns & spouse’s
 Revocable Trust Yield Pledge        TIAA                 x2911              $94,694.98
 Checking Account

                                           Real Property

       Real property located at 4451 NE 27 Avenue, Lighthouse Point, Florida, 33064, together

with all its buildings, appurtenances, and improvements and is more fully described as: Lot 4,

Block 57, VENETIAN ISLES THIRD SECTION, according to the plat thereof, as recorded in

Plat Book 47, Page 13, of the Public Records of Broward County, Florida, for which the

defendant’s and his spouse’s Revocable Trust is the recorded owner.


                                                  9


         Case
         Case5:19-cr-06011-DGK
              5:19-cr-06011-DGK Document
                                Document52 Filed
                                           Filed09/26/19
                                                 09/26/19 Page
                                                          Page12
                                                               9 of
                                                                 of11
                                                                    15                                   12
         Real property located at 2611 NE 52 Court, Lighthouse Point, Florida, 33064-7065,

together with all its buildings, appurtenances, and improvements and is more fully described as:

Lot 6, Block 9, of POMPANO WATERWAY ESTATES, according to the plat thereof, as

recorded on Plat Book 39, at Page 41, of the Public Records of Broward County, Florida, for

which the defendant’s daughter is the recorded owner.

         Real property located at 1681 SE 4 Court, Deerfield Beach, Florida, 33441, together with

all its buildings, appurtenances, and improvements and is more fully described as: Lot 23, Block

11, THE COVE, according to the map or plat thereof, as recorded in Plat Book 32, Page 48,

Public Records of Broward County, Florida, for which the defendant’s daughter is the recorded

owner.

         Real property located at 1410 SE 14 Avenue, Deerfield Beach, Florida, 33441, together

with all its buildings, appurtenances, and improvements and is more fully described as: Lot 1,

Block 8, of SUNSET EAST, according to the plat thereof as recorded on Plat Book 60, Page 2,

Public Records of Broward County, Florida, for which the defendant’s son is the recorded

owner.

         37.    If any of the above-described forfeitable property, as a result of any act or omission

of Byrns:

                (a)    cannot be located upon the exercise of due diligence;

                (b)    has been transferred or sold to, or deposited with, a third
                       party;

                (c)    has been placed beyond the jurisdiction of the court;

                (d)    has been substantially diminished in value; or
                (e)    has been commingled with other property which cannot be
                       divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

                                                 10


          Case 5:19-cr-06011-DGK Document 5
                                          2 Filed 09/26/19 Page 13
                                                                10 of 15
                                                                      11                                 13
incorporated by Title 18, United States Code, Section 982(b), to seek forfeiture of any other

property of Byrns up to the value of the forfeitable property described above, or to seek return of

the property to the jurisdiction of the court so that the property may be seized and forfeited.

       All pursuant to the provisions of Title 18, United States Code, Section 982(a)(7) and

procedures outlined in Title 21, United States Code, Section 853, and pursuant to Federal Rule of

Criminal Procedure 32.2.

                                                      Timothy A. Garrison
                                                      United States Attorney
                                                      Western District of Missouri

                                              By      /s/ Lucinda M. Woolery

                                                      Lucinda M. Woolery
                                                      Assistant United States Attorney
                                                      Western District of Missouri
                                                      Charles Evans Whittaker Courthouse
                                                      400 East Ninth Street, Suite 5510
                                                      Kansas City, Missouri 64106
                                                      Telephone: (816) 426-3122

                                                      Robert Zink, Chief
                                                      Criminal Division, Fraud Section
                                                      United States Department of Justice

                                              By:     /s/ Allan Medina

                                                      Allan Medina
                                                      Acting Deputy Chief
                                                      Criminal Division, Fraud Section

                                                      Gary A. Winters
                                                      James V. Hayes
                                                      Trial Attorneys
                                                      Criminal Division, Fraud Section
                                                      1400 New York Ave., N.W.
                                                      Washington, D.C. 20005
                                                      Telephone: (202) 598-2382




                                                 11


         Case 5:19-cr-06011-DGK Document 5
                                         2 Filed 09/26/19 Page 14
                                                               11 of 15
                                                                     11                               14
Case
 Case5:19-cr-06011-DGK
      5:19-cr-06011-DGK Document
                         Document54 Filed
                                     Filed09/26/19
                                           09/26/19 Page
                                                     Page15
                                                          1 of 1
                                                               15   15
